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          AF Approval£                                              Chief Approval    ~

                              UNITED STATES DISTRlCT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

          UNITED STATES OF AMERICA

                 V.                                   CASE NO. 8:18-cr-110-T-33CPT

          TRAVELL KINK.AY JONES

                                       PLEA AGREEMENT

                Pursuant to Fed. R. Crim. P. 1 l(c), the United States of America, by

          Maria Chapa Lopez, United States Attorney for the Middle District of

          Florida, and the defendant, Travell Kinkay Jones, and the attorney for the

          defendant, Paul D. Petruzzi, mutually agree as follows:

          A.    Particularized Terms

                 1.    Count Pleading To

                       The defendant shall enter a plea of guilty to Count One of the

          Indictment. Count One charges the defendant with conspiracy to distribute

          and possess with intent to distribute a kilogram or more of a mixture and

          substance containing heroin and four-hundred grams or more of a mixture and

          substance containing fentanyl, both controlled substances, in violation of 21

          U.S.C. §§ 846 and 841(b)(l)(A)(i), (vi) .




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            2.      Minimum and Maximum Penalties

                    Count One is punishable by a mandatory minimum term of

      imprisonment of IO years and a maximum term of life imprisonment, a fine of

      up to $10,000,000, a term of supervised release of at least 5 years, and a special

      assessment of $100. With respect to certain offenses, the Court shall order the

      defendant to make restitution to any victim of the offense, and with respect to

      other offenses, the Court may order the defendant to make restitution to any

     victim of the offense, or to the community, as set forth below.

            3.     Alleyne v. United States and Apprendi v. New Jersey

                   Under Alleyne v. United States, 570 U.S. 99 (2013), and Apprendi v.

     New Jersey, 530 U.S. 466 (2000), a mandatory minimum sentence often years

     and a maximum sentence oflife imprisonment may be imposed because the

     following facts have been admitted by the defendant and are established by

     this plea of guilty:

                   The defendant knowingly and willfully joined in a conspiracy

     involving one kilogram or more of heroin and four-hundred grams or more of

     fentanyl.




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            4.       Elements of the Offense

                     The defendant acknowledges understanding the nature and

     elements of the offense with which defendant has been charged and to which

      defendant is pleading guilty. The elements of Count One are:

            First:         That two or more people in some way agreed to try to
                           accomplish a shared and unlawful plan to possess with
                           intent to distribute or distribute heroin or fentanyl; and

            Second:        The defendant knew the unlawful purpose of the plan and
                           willfully joined in it.

            5.       Counts Dismissed

                     At the time of sentencing, the remaining counts·against the

     defendant, Count Five, will be dismissed pursuant to Fed. R. Crim. P.

      1l(c)(l)(A).

            6.       No Further Charges

                     If the Court accepts this plea agreement, the United States

     Attorney's Office for the Middle District of Florida agrees not to charge

     defendant with committing any other federal criminal offenses known to the

     United States Attorney's Office at the time of the execution of this agreement,

     related to the conduct giving rise to this plea agreement.




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            7.     Guidelines Sentence

                   Pursuant to Fed. R. Crim. P. l l(c)(l)(B), the United States will

      recommend to the Court that the defendant be sentenced within the

      defendant's applicable guidelines range as determined by the Court pursuant

      to the United States Sentencing Guidelines, as adjusted by any departure the

      United States has agreed to recommend in this plea agreement. The parties

      understand that such a recommendation is not binding on the Court and that,

      if it is not accepted by this Court, neither the United States nor the defendant

      will be allowed to withdraw from the plea agreement, and the defendant will

      not be allowed to withdraw from the plea of guilty.

            8.     Acceptance of Responsibility - Three Levels

                   At the time of sentencing, and in the event that no adverse

      information is received suggesting such a recommendation to be unwarranted,

      the United States will recommend to the Court that the defendant receive a

     two-level downward adjustment for acceptance of responsibility, pursuant to

     USSG §3El.l(a). The defendant understands that this recommendation or

     request is not binding on the Court, and if not accepted by the Court, the

      defendant will not be allowed to withdraw from the plea.

                   Further, at the time of sentencing, if the defendant's offense level

     prior to operation of subsection (a) is level 16 or greater, and if the defendant




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      complies with the provisions ofUSSG §3El.l(b) and all terms of this Plea

      Agreement, including but not limited to, the timely submission of the financial

      affidavit referenced in Paragraph B.5., the United States agrees to file a motion

      pursuant to USSG §3E 1.1 (b) for a downward adjustment of one additional

      level. The defendant understands that the determination as to whether the

      defendant has qualified for a downward adjustment of a third level for

      acceptance of responsibility rests solely with the United States Attorney for the

     Middle District of Florida, and the defendant agrees that the defendant cannot

      and will not challenge that determination, whether by appeal, collateral attack,

      or otherwise.

            9.        Concurrent Sentence

            The United States and the defendant agree that, although not binding

     on the United States Probation Office or the Court, they will jointly

     recommend that the sentence imposed in the instant case run concurrent to

     any sentence the defendant receives in United States v. Travel! Jones, Case No.

     9:18-cr-80076, which is currently pending in the Southern District of Florida.

            10.       Forfeiture of Assets

                      The defendant agrees to forfeit to the United States immediately

     and voluntarily any and all assets and property, or portions thereof, subject to

     forfeiture, pursuant to 21 U.S.C. § 853, whether in the possession or control of




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      the United States, the defendant or defendant's nominees. The assets to be

      forfeited specifically include, but are not limited to, the proceeds the

      Defendant obtained as a result of the offense charged in Count One, which

      will be determined at sentencing. The defendant acknowledges and agrees

      that: (1) the defendant obtained proceeds as a result of the commission of the

      offense, and (2) as a result of the acts and omissions of the defendant, the

     proceeds have been transferred to third parties and cannot be located by the

      United States upon the exercise of due diligence. Therefore, the defendant

      agrees that, pursuant to 21 U .S.C. § 853(p), the United States is entitled to

     forfeit any other property of the defendant (substitute assets), up to the amount

     of proceeds the defendant obtained, as the result of the offense of conviction.

     The defendant further consents to, and agrees not to oppose, any motion for

     substitute assets filed by the United States up to the amount of proceeds

     obtained from commission of the offense. The defendant agrees that forfeiture

     of substitute assets as authorized herein shall not be deemed an alteration of

     the defendant's sentence.

                   The defendant also agrees to waive all constitutional, statutory,

     and procedural challenges (including direct appeal, habeas corpus, or any

     other means) to any forfeiture carried out in accordance.with this Plea

     Agreement on any grounds, including that the forfeiture described herein




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      constitutes an excessive fine, was not properly noticed in the charging

      instrument, addressed by the Court at the time of the guilty plea, announced at

      sentencing, or incorporated into the judgment.

                   The defendant admits and agrees that the conduct described in

     the Factual Basis below provides a sufficient factual and statutory basis for the

      forfeiture of the property sought by the government. Pursuant to Rule

      32.2(b)(4), the defendant agrees that the preliminary order of forfeiture will

      satisfy the notice requirement and will be final as to the defendant at the time

      it is entered. In the event the forfeiture is omitted from the judgment, the

      defendant agrees that the forfeiture order may be incorporated into the written

     judgment at any time pursuant to Rule 36.

                   The defendant agrees to take all steps necessary to identify and

     locate all substitute assets and to transfer custody of such assets to the United

     States before the defendant's sentencing. To that end, the defendant agrees to

     make a full and complete disclosure of all assets over which defendant

     exercises control, including all assets held by nominees, to execute any

     documents requested by the United States to obtain from any other parties by

     lawful means any records of assets owned by the defendant, and to consent to

     the release of the defendant's tax returns for the previous five years. The

     defendant agrees to be interviewed by the government, prior to and after




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     sentencing, regarding such assets. The defendant further agrees to be

     polygraphed on the issue of assets, if it is deemed necessary by the United

     States. The defendant agrees that Federal Rule of Criminal Procedure 11 and

     USSG § lBI.8 will not protect from forfeiture assets disclosed by the

     defendant as part of the defendant's cooperation.

                  The defendant agrees to take all steps necessary to assist the

     government in obtaining clear title to any substitute assets before the

     defendant's sentencing. In addition to providing full and complete

     information about substitute assets, these steps include, but are not limited to,

     the surrender of title, the signing of a consent decree of forfeiture, and signing

     of any other documents necessary to effectuate such transfers.

                  Forfeiture of the defendant's assets shall not be treated as
                                                                       \


     satisfaction of any fine, restitution, cost of imprisonment, or any other penalty

     the Court may impose upon the defendant in.addition to forfeiture.

                  The defendant agrees that, in the event the Court determines that

     the defendant has breached this section of the Plea Agreement, the defendant

     may be found ineligible for a reduction in the Guidelines calculation for

     acceptance of responsibility and substantial assistance, and may be eligible for

     an obstruction of justice enhancement.




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              The defendant agrees that the forfeiture provisions of this plea

     agreement are intended to, and will, survive the defendant, notwithstanding

     the abatement of any underlying criminal conviction after the execution of this

     agreement. The forfeitability of any particular property pursuant to this

     agreement shall be determined as if the defendant had survived, and that

     determination shall be binding upon defendant's heirs, successors and assigns

     until the agreed forfeiture, including the forfeiture of any substitute assets, is

     final.

     B.       Standard Terms and Conditions

              1.    Restitution. Special Assessment and Fine

                    The defendant understands and agrees that the Court, in addition

     to or in lieu of any other penalty, shall order the defendant to make restitution

     to any victim of the offense(s), pursuant to 18 U.S.C. § 3663A, for all offenses

    _ described in 18 U.S.C. § 3663A(c)(l); and the Court may order the defendant

     to make restitution to any victim of the offense(s), pursuant to 18 U.S.C. §

     3663, including restitution as to all counts charged, whether or not the

     defendant enters a plea of guilty to such counts, and whether or not such

     counts are dismissed pursuant to this agreement. The defendant further

     understands that compliance with any restitution payment plan imposed by

     the Court in no way precludes the United States from simultaneously pursuing



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      other statutory remedies for collecting restitution (28 U.S.C. § 3003(b)(2)),

      including, but not limited to, garnishment and execution, pursuant to the

      Mandatory Victims Restitution Act, in order to ensure that the defendant's

      restitution obligation is satisfied.
                                                         '
                      On each count to which a plea of guilty is entered, the Court

      shall impose a special assessment pursuant to 18 U.S.C. § 3013. To ensure

      that this obligation is satisfied, the Defendant agrees to deliver a check or

      money order to the Clerk of the Court in the amount of$100.00, payable to
          1
      '   Clerk, U.S. District Court" within ten days of the change of plea hearing.

                      The defendant understands that this agreement imposes no

      limitation as to fine.

               2.     Supervised Release

                      The defendant understands that the offense(s) to which the

      defendant is pleading provide(s) for imposition _o f a term of supervised release

      upon release from imprisonment, and that, if the defendant should violate the

      conditions of release, the defendant would be subject to a further term of

      imprisonment.

               3.     Immigration Consequences of Pleading Guilty

                      The defendant has been advised and understands that, upon

      conviction, a defendant who is not a United States citizen may be removed




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      from the United States, denied citizenship, and denied admission to the

      United States in the future.

             4.     Sentencing Information

                    The United States reserves its right and obligation to report to the

      Court and the United States Probation Office all information concerning the

      background, character, and conduct of the defendant, to provide relevant

      factual information, including the totality of the defendant's criminal activities,

      if any, not limited to the count(s) to which defendant pleads, to respond to

      comments made by the defendant or defendant's counsel, and to correct any

      misstatements or inaccuracies. The United States further reserves its right to

      make any recommendations it deems appropriate regarding the disposition of

      this case, subject to any limitations set forth herein, if any.

             5.     Financial Disclosures

                    Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P.

      32(d)(2)(A)(ii), the defendant agrees to complete and submit to the United

      States Attorney's Office within 30 days of execution of this agreement an

      affidavit reflecting the defendant's financial condition. The defendant

      promises that his financial statement and disclosures will be complete,

      accurate and truthful and will include all assets in which he has any interest or

      over which the defendant exercises control, directly or indirectly, including



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      those held by a spouse, dependent, nominee or other third party. The

      defendant further agrees to execute any documents requested by the United

      States needed to obtain from any third parties any records of assets owned by

      the defendant, directly or through a nominee, and, by the execution of this

      Plea Agreement, consents to the release of the defendant's tax returns for the

      previous five years. The defendant similarly agrees and authorizes the United

      States Attorney's Office to provide to, and obtain from, the United States

      Probation Office, the financial affidavit, any of the defendant's federal, state,

      and local tax returns, bank records and any other financial information

      concerning the defendant, for the purpose of making any recommendations to

      the Court and for collecting any assessments, fines, restitution, or forfeiture

      ordered by the Court. The defendant expressly authorizes the United States

      Attorney's Office to obtain current credit reports in order to evaluate the

      defendant's ability to satisfy any financial obligatiqn imposed by the Court.

            6.     Sentencing Recommendations

                   It is understood by the parties that the Court is neither a party to

      nor bound by this agreement. The Court may accept or reject the agreement,

      or defer a decision until it has had an opportunity to consider the presentence

      report prepared by the United States Probation Office. The defendant

      understands and acknowledges that, although the parties are permitted to




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      make recommendations and present arguments to the Court, the sentence will

      be determined solely by the Court, with the assistance of the United States

      Probation Office. Defendant further understands and acknowledges that any

      discussions between defendant or defendant's attorney and the attorney or

      other agents for the government regarding any recommendations by the

      government are not binding on the Court and that, should any

      recommendations be rejected, defendant will not be permitted to withdraw

      defendant's plea pursuant to this plea agreement. The government expressly

      reserves the right to support and defend any decision that the Court may make

      with regard to the defendant's sentence, whether or not such decision is

      consistent with the government's recommendations contained herein.

             7.    Defendant's Waiver of Right to Appeal the Sentence

                   The defendant agrees that this Court has jurisdiction and

      au¢.ority to impose any sentence up to the statutory maximum and expressly

      waives the right to appeal defendant's sentence on any ground, including the

      ground that the Court erred in determ~g the applicable guidelines range

      pursuant to the United States Sentencing Guidelines, except (a) the ground

      that the sentence exceeds the defendant's applicable guidelines range as

      determined by the Court pursuant to the United States Sentencing Guidelines;

      (b) the ground that the sentence exceeds the statutory maximum penalty; or (c)




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      the ground that the sentence violates the Eighth Amendment to the

      Constitution; provided, however, that if the government exercises its right to

      appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then the

      defendant is released from his waiver and may appeal the sentence as

      authorized by 18 U.S.C. § 3742(a).

             8.     Middle District of Florida Agreement

                    It is further understood that this agreement is limited to the

      Office of the United States Attorney for the Middle District of Florida and

      cannot bind other federal, state, or local prosecuting authorities, although this

      office will bring defendant's cooperation, if any, to the attention of other

      prosecuting officers or others, if requested.

             9.     Filing of Agreement

                    This agreement shall be presented to the Court, in ·o pen court or

      in camera, in whole or in part, upon a showing of goo~ cause, and filed in this

      cause, at the time of defendant's entry of a plea of guilty pursuant hereto.

              10.   Voluntariness

                    The defendant acknowledges that defendant is entering into this

      agreement and is pleading guilty freely and voluntarily without reliance upon

      any discussions between the attorney for the government and the defendant

      and defendant's attorney and without promise ofbel}efit of any kind (other




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      than the concessions contained herein), and without threats, force,

      intimidation, or coercion of any kind. The defendant further acknowledges

      defendant's understanding of the nature of the offense or offenses to which

      defendant is pleading guilty and the elements thereof, including the penalties

      provided by law, and defendant's complete satisfaction with the representation

      and advice received from defendant's undersigned counsel (if any). The

      defendant also understands that defendant has the right to plead not guilty or

      to persist in that plea if it has already been made, and that defendant has the

      right to be tried by a jury with the assistance of counsel, the right to confront

      and cross-examine the witnesses against defendant, the right against

      compulsory self-incrimination, and the right to compulsory process for the

      attendance of witnesses to testify in defendant's defense; but, by pleading

      guilty, defendant waives or gives up those rights and there will be no trial.

      The defendant further understands that if defendant pleads guilty, the Court

      may ask defendant questions about the offense or offenses to which defendant

      pleaded, and if defendant answers those questions under oath, on the record,

      and in the presence of counsel (if any), defendant's answers may later be used

      against defendant in a prosecution for perjury or false statement. The

      defendant also understands that defendant will be adjudicated guilty of the

      offenses to which defendant has pleaded and, if any of such offenses are




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      felonies, may thereby be deprived of certain rights, such as the right to vote, to

      hold public office, to serve on a jury, or to have possession of firearms.

             11.    Factual Basis

                    Defendant is pleading guilty because defendant is in fact guilty.

      The defendant certifies that defendant does hereby admit that the facts set

      forth below are true, and were this case to go to trial, the United States would

      be able to prove those specific facts and others beyond a reasonable doubt.

                                           FACTS

                    Beginning at least as early as in or around June 2017, the

      defendant, Travell Kinkay JONES, was part of a conspiracy to distribute

      heroin and fentanyl in the Tampa area. Codefendant Anthony Lang sold

      narcotics out of his residence in Tampa and received the same from JONES,

      who lived in the West Palm Beach area.

                    On June 15, 2017, DEA agents intercepted a_phone call between

      Lang and JONES in which the two discuss that the latest heroin JONES

      brought to Tampa was of poor quality. The next day, agents intercepted . . .

      another call about the heroin, whereby Lang told JONES that he had about

      "200 or 250 grams" of heroin on-hand but his "people" said the heroin "ain't

      no good." In another call on July 1, 2017, Lang reiterated that he had "over

      200 grams."




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                    In the afternoon of October 2, 2017, DEA agents intercepted a

      call between Lang and Person 1, a heroin user. In the first call, Person said, "I

      need probably 40 of your wings." A short while later, Person 1 was intercepted

      telling Lang, "I need to change my order to 60 and a point .... " After that call,

      agents saw Person I go to Lang's house, walk inside, and leave shortly

      thereafter. A traffic stop was conducted on Person 1's vehicle for a traffic

      violation and, after a positive K-9 alert to the odor of narcotics, agents seized a

      quantity of heroin wrapped in aluminum foil and a syringe.

                    On October 5, 2017, DEA agents intercepted two calls between

      codefendant Vanzini Hansell and Lang indicating that the former was coming

      to Lang's house. After the second call, Hansell was seen accompanied by

      codefendant Amber Miller arriving at Lang's house and staying briefly. A

      traffic stop was conducted and, after another positive K-9 alert to the odor of

      narcotics, ?,gents found in Miller's purse a quantity of heroin wrapped in

      aluminum foil. Miller was arrested following the traffic stop and Hansell

      placed several calls to Lang after the incident. In one of the calls, Hansell told

      Lang, "They just took everything out that purse."

                   On October 6, 2017, agents intercepted a call between JONES

      and Lang in which JONES indicated he would be traveling up to Tampa. At

      one point in the call, Lang told JONES, "I won't have that much . . .




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      yesterday I made a sale to one of my people, then his girl went to jail." This

      was in reference to the arrest of Amber Miller on October 5. Later that day, in

      a second intercepted call, JONES and Lang discussed what Lang owed to

      JONES. In that call, JONES said to Lang, "You owe me 60 grand, man! I

      gave you 15 good ones and then 16 good ones when my homeboy came

      back." The wholesale value of a kilogram of heroin in Tampa is

      approximately $60,000.

                   On October 7, 2017, cellphone tracking information revealed that

      Jones traveled from West Palm Beach to Tampa. Law enforcement officers

      observed JONES arrive at Lang's house in a black 2011 BMW, walk inside

      with a black duffie bag, and then walk out with the bag appearing to be

      weighed down. Tampa Police Department officers executed a traffic stop o°i

      JONES's BMW for excessive window tint and not heeding the right-of-way. A

      Florida Highway Patrol K-9 unit conducted an exterior air sniff of the BMW

      and alerted to the odor of narcotics. A probable cause search of JONES's
                                          .,

      BMW resulted in the seizure df 420 grams of a mixture and substance

      containing heroin, fentanyl, and benzyl fentanyl. In a post-Miranda statement,

      JONES admitted to traveling from West Palm Beach to pick up Lang's unsold

      heroin.




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                   Following this traffic stop, agents intercepted a call between

      JONES and Lang in which JONES described being involved in an incident

      with the police. JONES instructed Lang:

                   "[D]on't sell nothin' outta there ... .leave that shit alone,
                   boy. Don't do nothing at that house boy, boy,
                   nothin' ... they followed me from your house ... they
                   watchin' you!"

      Twelve minutes after this call, Lang was intercepted calling his cousin,

      codefendant Carlton Mallard. In this call, Lang told Mallard that he needed

      to:

                   "[C]ome over there and put that over there about a couple
                   weeks ... getting kinda hot around my house ... don't let your wife
                   know what's going on ... my partner just left and he said they
                   pulled him ... [.]"

      Mallard responded, "Alright."

                   At approximately 8: 11 pm that evening, agents intercepted

      another call from Lang to Mallard. During this call, Lang told Mallard that he

      was "in the front right here." Agents observed Lang's vehicle outside

      Mallard's house and cellphone location information placed Lang's phone to

      within sixteen meters of Mallard's house.

                   On October 11, 2017, DEA agents and Tampa Police

      Department detectives conducted a search of Mallard's house. Inside the

      house, Mallard directed the agents to a laundry basket filled with clothing.




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      Underneath the clothing in the basket was a black garbage bag with two

      smaller bags. Inside one bag was 268.8 grams of a mixture and substance

      containing detectable amounts of heroin, fentanyl, and benzyl fentanyl. Inside

      the second bag was 277.5 grams of a mixture and substance containing a

      detectable amount of heroin.

                   Based on the amounts seized as well as statements made during

      intercepted calls in June and July of 2017 between JONES and Lang, the total

      amount of heroin involved in the conspiracy was one kilogram or more, and

      the total amount offentanyl was four-hundred grams or more.




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            12.    Entire Agreement

                   This plea agreement constitutes the entire agreement between the

      government and the defendant with respect to the aforementioned guilty plea

      and no other promises, agreements, or representations exist or have been

      made to the defendant or defendant's attorney with regard to such guilty plea.

            13.    Certification

                   The defendant and defendant's counsel certify that this plea

      agreement has been read in its entirety by (or has been read to) the defendant

      and that defendant fully understands its terms.

            DATED this     tJB-    day of   !YA1ccr1       , 2019.




      Paul~zz1                                          ~~ ~ -
                                                   Joseph K. Kuaa:)  ..
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      Attorney for Defendant                       Assistant United States Attorney
                                                   Chief, Transnational Organized Crime




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